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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA



 In re Fannie Mae/Freddie Mac Senior
 Preferred Stock Purchase Agreement
 Class Action Litigations                       Misc. Action No. 13-mc-1288 (RCL)

                                                CLASS ACTION
 THIS DOCUMENT RELATES TO:
 ALL CASES



                  PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       Plaintiffs Joseph Cacciapalle, Michelle M. Miller, Timothy J. Cassell, and Barry P.

Borodkin (collectively, “Plaintiffs”), hereby move for entry of an Order, in the form attached

hereto, certifying this action as a class action pursuant to Rules 23(a) and 23(b) of the Federal

Rules of Civil Procedure on behalf of three Classes consisting of:

           (1) All current holders of junior preferred stock in Fannie Mae as of the date
           of certification, or their successors in interest to the extent shares are sold
           after the date of certification and before any final judgment or settlement (the
           “Fannie Preferred Class”);

           (2) All current holders of junior preferred stock in Freddie Mac as of the date
           of certification, or their successors in interest to the extent shares are sold
           after the date of certification and before any final judgment or settlement (the
           “Freddie Preferred Class”); and

            (3) All current holders of common stock in Freddie Mac as of the date of
           certification, or their successors in interest to the extent shares are sold after
           the date of certification and before any final judgment or settlement (the
           “Freddie Common Class”).

Excluded from all Classes are the defendants, the United States Department of the Treasury, and

their respective officers and directors.

       Plaintiffs also move for an Order designating Plaintiffs as class representatives and

designating the law firms of Boies Schiller Flexner LLP, Kessler Topaz Meltzer & Check, LLP,
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Grant & Eisenhofer, P.A., and Bernstein Litowitz Berger & Grossmann LLP as Co-Lead Class

Counsel.

       The reasons for this motion are fully set forth in the Memorandum of Law filed

simultaneously herewith.



 Dated: August 12, 2021                     Respectfully submitted,


                                            /s/ Hamish P.M. Hume
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